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              EXHIBIT 7
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Department of Health and Human Services
                  OFFICE OF
             INSPECTOR GENERAL




     DETERMINING AVERAGE
   MANUFACTURER PRICES FOR
   PRESCRIPTION DRUGS UNDER
     THE DEFICIT REDUCTION
          ACT OF 2005




                                  Daniel R. Levinson
                                   Inspector General

                                      May 2006
                                    A-06-06-00063
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                    Office of Inspector General
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                                  EXECUTIVE SUMMARY

BACKGROUND

Medicaid Drug Rebate Program

Section 1927 of the Social Security Act (the Act) established the Medicaid drug rebate program.
For a manufacturer’s covered outpatient drugs to be eligible for Federal Medicaid funding under
the program, the manufacturer must enter into a rebate agreement with the Centers for Medicare
& Medicaid Services (CMS) and pay quarterly rebates to the States. Section 1927(b)(3) of the
Act requires a participating manufacturer to report quarterly to CMS the average manufacturer
price (AMP) for each covered outpatient drug. Section 1927(k)(1) defines AMP as the average
price paid to the manufacturer by wholesalers for drugs distributed to the retail pharmacy class of
trade, after deducting customary prompt pay discounts.

CMS uses AMP to calculate a unit rebate amount for each covered outpatient drug and provides
the unit rebate amounts to the States. The States determine the total rebates that participating
manufacturers owe by multiplying the unit rebate amount by the number of units of the drug
dispensed to Medicaid beneficiaries.

Deficit Reduction Act of 2005

The Deficit Reduction Act (DRA) of 2005 requires the Secretary of the Department of Health
and Human Services to provide AMP data to the States on a monthly basis beginning July 1,
2006. These data will provide States with pricing information that was generally not available
previously, and States may choose to use AMP in setting reimbursement amounts. In addition,
the DRA establishes AMP as the new reimbursement basis for drugs subject to Federal upper
limit requirements.

The DRA requires the Office of Inspector General (OIG) to (1) review the requirements for, and
manner in which, AMPs are determined under section 1927 of the Act and (2) recommend
appropriate changes by June 1, 2006. Pursuant to the DRA, CMS must promulgate, by July 1,
2007, a regulation that clarifies those requirements after considering OIG’s recommendations.

OBJECTIVE

Our objective was to review the requirements for, and manner in which, manufacturers
determine AMPs under section 1927 of the Act.

SUMMARY OF RESULTS

Existing requirements for determining certain aspects of AMPs are not clear and comprehensive,
and manufacturers’ methods of calculating AMPs are inconsistent. OIG’s previous and ongoing
work, which has primarily focused on how manufacturers calculate AMP, has found that the
manufacturers reviewed interpret AMP requirements differently. Specifically, our findings
demonstrate the need to clarify the definition of retail class of trade and the treatment of



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pharmacy benefit manager rebates and Medicaid sales in AMP calculations. In addition, work
related to the use of AMP by CMS and other agencies highlights the need to consider the
timeliness and accuracy of manufacturer-reported AMPs. Consistent with our findings, industry
groups also emphasized the need to clarify certain AMP requirements. Further, they raised
additional issues related to the implementation of DRA provisions.

Because the DRA expands the use of AMPs and creates new reimbursement policy implications,
future errors or inconsistencies in manufacturers’ AMP calculations could lead to inaccurate or
inappropriate reimbursement amounts as well as rebate errors.

RECOMMENDATIONS

We recommend that the Secretary direct CMS, in promulgating the AMP regulation, to:

   •   clarify requirements in regard to the definition of retail class of trade and the treatment of
       pharmacy benefit manager rebates and Medicaid sales and

   •   consider addressing issues raised by industry groups, such as:

           o   administrative and service fees,
           o   lagged price concessions and returned goods,
           o   the frequency of AMP reporting,
           o   AMP restatements, and
           o   baseline AMP.

We also recommend that the Secretary direct CMS to:

   •   issue guidance in the near future that specifically addresses the implementation of the
       AMP-related reimbursement provisions of the DRA and

   •   encourage States to analyze the relationship between AMP and pharmacy acquisition cost
       to ensure that the Medicaid program appropriately reimburses pharmacies for estimated
       acquisition costs.

CENTERS FOR MEDICARE & MEDICAID SERVICES COMMENTS

In commenting on a draft of this report, CMS stated that it would address each of the
recommended areas, as well as the areas raised by industry groups, in its proposed regulation.
CMS also stated that it would evaluate the need for additional guidance. CMS’s comments are
included as Appendix G.




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                                              INTRODUCTION

BACKGROUND

Medicaid Drug Rebate Program

Section 1927 of the Social Security Act (the Act) established the Medicaid drug rebate program.
For a manufacturer’s covered outpatient drugs to be eligible for Federal Medicaid funding under
the program, the manufacturer must enter into a rebate agreement with the Centers for Medicare
& Medicaid Services (CMS) and pay quarterly rebates to the States. Section 1927(b)(3) of the
Act requires a participating manufacturer to report quarterly to CMS the average manufacturer
price (AMP) for each covered outpatient drug. Section 1927(k)(1) defines AMP as the average
price paid to the manufacturer by wholesalers for drugs distributed to the retail pharmacy class of
trade, after deducting customary prompt pay discounts.

CMS uses AMP and, in some cases, best price data to calculate a per unit (e.g., per pill) rebate
amount for each covered outpatient drug and provides the unit rebate amounts to the States.1
The States determine the total rebates that participating manufacturers owe by multiplying the
unit rebate amount for a specific drug by the number of units dispensed to Medicaid
beneficiaries.

Deficit Reduction Act of 2005

The Deficit Reduction Act (DRA) of 2005 contains several provisions affecting the Medicaid
drug rebate program and Medicaid drug reimbursement. Sections 6001(c) and (g) of the DRA
require the calculation of AMP without regard to customary prompt pay discounts effective
January 1, 2007. Section 6001(b) requires the Secretary of the Department of Health and Human
Services to provide AMP data to the States on a monthly basis beginning July 1, 2006. These
data will provide States with pricing information that was generally not available previously, and
States may choose to use AMP in setting reimbursement amounts. In addition, the DRA
establishes AMP as the new reimbursement basis for drugs subject to Federal upper limit
requirements. Section 6001(a) of the DRA requires that, effective January 1, 2007, Federal
upper limits will be based on 250 percent of AMP for the drug with the lowest AMP rather than
150 percent of the lowest published price for therapeutically equivalent products.

Section 6001(c)(3)(A) of the DRA requires the Office of Inspector General (OIG) to (1) review
the requirements for, and manner in which, AMPs are determined under section 1927 of the Act
and (2) recommend appropriate changes by June 1, 2006. Section 6001(c)(3)(B) requires that
CMS promulgate, by July 1, 2007, a regulation that clarifies those requirements after considering
OIG’s recommendations.




1
 Section 1927(c)(1)(C) defines best price as the lowest price available from the manufacturer during the rebate
period to any wholesaler, retailer, provider, health maintenance organization, nonprofit entity, or governmental
entity, excluding certain sales.


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Centers for Medicare & Medicaid Services Guidance

Since the Medicaid drug rebate program began in 1991, CMS has issued a regulation (42 CFR
§ 447.534) addressing only manufacturers’ record retention requirements and time limits for
submitting AMP recalculations. CMS has also issued guidance to manufacturers in the form of a
standardized drug rebate agreement with manufacturers and memorandums called Medicaid drug
program releases (releases).

The rebate agreement further defines AMP and provides a definition of wholesalers:

    •    AMP is defined as “the average unit price paid to the Manufacturer for the drug in the
         States by wholesalers for drugs distributed to the retail pharmacy class of trade
         (excluding direct sales to hospitals, health maintenance organizations and to wholesalers
         where the drug is relabeled under that distributor’s national drug code number).” The
         rebate agreement further specifies that cash discounts and all other price reductions that
         reduce the actual price paid are included in AMP (section I(a) of the rebate agreement).

    •    A wholesaler is defined as “any entity (including a pharmacy or chain of pharmacies) to
         which the labeler [manufacturer] sells the Covered Outpatient Drug, but that does not
         relabel or repackage the Covered Outpatient Drug” (section I(ee) of the rebate
         agreement).

Section I(a) of the rebate agreement also provides that the AMP “for a quarter must be adjusted
by the Manufacturer if cumulative discounts or other arrangements subsequently adjust the prices
actually realized.” Manufacturers can have payment arrangements with entities that do not take
title to or possession of drugs. These arrangements can affect the price realized by the
manufacturer without changing the price paid by the purchaser that takes title to or possession of
the drugs.

To provide additional clarification on rebate issues, CMS sent 72 releases to drug manufacturers
from 1991 through March 2006. These releases typically focused on specific definitional or
calculation-related concerns.

Medicaid Reimbursement of Covered Outpatient Drugs

Each State is required to submit a Medicaid State plan to CMS describing its payment
methodology for covered drugs. Federal regulations (42 CFR § 447.331(b)) require, with certain
exceptions, that a State’s reimbursement for drugs not exceed, in the aggregate, the lower of the
estimated acquisition cost plus a reasonable dispensing fee or the provider’s usual and customary
charge to the public for the drugs. CMS allows States flexibility in defining estimated
acquisition cost.

For certain drugs, States also use the Federal upper limit to determine reimbursement amounts.
CMS has established Federal upper limit amounts for more than 400 drugs that meet specified
criteria. Pursuant to 42 CFR § 447.332(b), Federal upper limit amounts are currently based on
150 percent of the lowest published price for therapeutically equivalent products.


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States have generally based estimated acquisition cost on readily available published prices,
typically the average wholesale price (AWP). OIG has found that Medicaid drug reimbursement
based on AWP often exceeds pharmacies’ actual acquisition costs and the prices paid by other
Federal programs. AWP data have several critical flaws. AWP is not defined in statute or
regulation, is not necessarily linked to actual sales transactions, and is not easily verifiable.
While certain aspects of AMP need to be addressed, AMP has several advantages over AWP as a
basis of reimbursement. In contrast to AWP, AMP is statutorily defined, is calculated from
actual sales transactions, and is subject to audit.

OBJECTIVE, SCOPE, AND METHODOLOGY

Objective

Our objective was to review the requirements for, and manner in which, manufacturers
determine AMPs under section 1927 of the Act.

Scope

We limited our review to information obtained through OIG work since 1991 and discussions
with representatives of stakeholders in the Medicaid drug rebate program (manufacturers,
pharmacies, distributors, and States). The audit objective did not require that we identify or
review any internal control systems.

We performed our fieldwork during March and April 2006.

Methodology

To accomplish our objective, we:

        •    reviewed the appropriate sections of the DRA, section 1927 of the Act, the rebate
             agreements between CMS and drug manufacturers, and applicable CMS releases;

       •     met with congressional staff to discuss the OIG requirements in the DRA;

       •     interviewed CMS officials;

       •     analyzed and compiled past and ongoing OIG work related to drug manufacturers, AMP
             calculations, and the use of AMP;2

       •     met with three manufacturer groups, three pharmacy groups, one distributor group, and
             one State government group to discuss their concerns related to AMP calculations and the
             DRA; and

       •     analyzed written comments provided by six of these groups.

2
    Many of the OIG reports contain proprietary information and are therefore not available to the public.


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We conducted our review in accordance with generally accepted government auditing standards.

                                   RESULTS OF REVIEW

Existing requirements for determining certain aspects of AMPs are not clear and comprehensive,
and manufacturers’ methods of calculating AMPs are inconsistent. OIG’s previous and ongoing
work has demonstrated that the manufacturers reviewed interpret AMP requirements differently.
Consistent with our findings, industry groups also emphasized the need to clarify requirements.
Further, they raised additional issues related to the implementation of DRA provisions. Because
the DRA expands the use of AMPs and creates new reimbursement policy implications, future
errors or inconsistencies in manufacturers’ AMP calculations could lead to inaccurate or
inappropriate reimbursement amounts as well as rebate errors.

SUMMARY OF OFFICE OF INSPECTOR GENERAL WORK

Our work on Medicaid drug rebates has focused on how manufacturers calculate AMP and how
CMS and other agencies use AMP. Findings in these areas demonstrate the need to clarify the
definition of retail class of trade and the treatment of pharmacy benefit manager (PBM) rebates
and Medicaid sales in AMP calculations. One issue fundamental to the proper treatment of PBM
and other rebates is whether AMP should represent the net price realized by manufacturers or the
price paid by purchasers that take possession of the drugs. Our findings also highlight the need
to consider the implications of previously reported problems in the timeliness and accuracy of
manufacturer-reported AMPs.

Calculating Average Manufacturer Price

Our first review, initiated in 1991, found that four drug manufacturers used three different
methods to calculate AMP; they based the calculations on gross sales to wholesalers, net sales to
wholesalers, or direct retail sales and retail sales reported by wholesalers. We recommended that
CMS survey other manufacturers to identify the methods used to determine AMP and develop a
more specific policy for calculating AMP that would protect the Government’s interest and be
equitable to manufacturers.

At CMS’s request in the mid-1990s, we reviewed the AMP submissions of two manufacturers
that had revised their AMP calculation methodologies. For the first manufacturer, we were
unable to express an opinion on the revised methodology because the manufacturer lacked
adequate documentation to support its changes. The second manufacturer’s methodology
revision primarily involved the inclusion of price concessions to customers that the manufacturer
considered to be retail. For example, the manufacturer decided that price concessions to mail-
order pharmacies, nursing home pharmacies, PBMs, independent practice associations, and
clinics represented the retail class of trade. Based on our limited review, we disagreed with the
manufacturer’s designation of these customers as part of the retail class of trade; therefore, we
believed that the price concessions should not have been included in AMP. However, at the
time, no guidance addressed the retail class of trade issues that we reviewed. Subsequent to that
review, CMS issued release 29, which provided guidance on the treatment of some of these
customers.



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In 2003, we initiated reviews of four manufacturers. We selected these manufacturers because
they had reported to CMS that they had changed their AMP calculation methodologies and had,
as a result, received State refunds of previously paid rebates. We once again found differences in
the ways that manufacturers treated certain elements of their AMP calculations. As discussed
below, these reviews identified significant issues related to the treatment of PBM rebates and
Medicaid sales.

Treatment of Pharmacy Benefit Manager Rebates

A major factor contributing to inconsistencies in manufacturers’ AMP calculations is the
business relationship between a manufacturer and various groups involved in distributing drugs.
PBMs, in particular, have assumed a prominent role in the drug distribution network.

Health plans and third-party payers often hire PBMs to help manage the drug benefits paid by
those plans. PBMs may act on behalf of many types of customers, of which some could be
considered a part of the retail class of trade. Unless a PBM has a mail-order component, it
generally does not purchase drugs or take delivery of or title to the drugs.

PBMs may negotiate and receive rebates and other payments from manufacturers based on
services provided (e.g., formulary development and communications to patients) and/or based on
a drug’s utilization or market share. PBMs may share or “pass through” to their customers some
or none of the rebates or fees they receive from manufacturers. Manufacturers are generally not
parties to the contracts between PBMs and their customers. Manufacturers have indicated that
they may not know how much, if any, of the rebates received by a PBM are passed on to the
PBM’s customers. Retail pharmacy groups have indicated that PBM rebates do not get passed
on to pharmacies.

Three of the four manufacturers audited as part of our ongoing work reduced their AMP values
for rebates paid to PBMs. The inclusion of PBM rebates in an AMP calculation reduces AMP,
resulting in lower Medicaid rebates to the States.

   •    Two manufacturers included all rebates paid to PBMs when calculating AMPs. One
        manufacturer believed that PBMs act like wholesalers because they manage the flow of
        drug products through their network of pharmacies. The other manufacturer indicated
        that, with the lack of formal guidance addressing how to handle PBM rebates, nothing
        precluded it from including payments to PBMs.

   •    The third manufacturer included a portion of its PBM rebates in the calculation of AMP
        based on an analysis of the health plans represented by PBMs. The manufacturer
        determined the percentage of health plans that it considered to be “retail,” allocated
        rebates paid to PBMs for those plans, and included that percentage of the rebates in the
        AMP calculations.

Conversely, the fourth manufacturer did not include rebates paid to PBMs in its AMP
calculations. This manufacturer decided not to characterize transactions with PBMs as “sales”




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because PBMs do not take possession of drugs; therefore, this manufacturer believed that
including the rebates in AMP would not be consistent with section 1927 of the Act.

Neither section 1927 of the Act nor the rebate agreement addresses the issue of how to treat
rebates that manufacturers pay to PBMs. CMS issued three releases in 1997 that discussed
PBMs. Releases 28 and 29 stated that “drug prices to PBMs” had no effect on AMP calculations
unless the PBM acted as a wholesaler as defined in the rebate agreement. (CMS did not explain
what it meant to act as a wholesaler in the context of PBMs, which do not typically take delivery
of and title to drugs.) In release 30, CMS recognized existing confusion relating to the treatment
of PBMs and stated that it intended to reexamine the PBM issue and hopefully clarify its position
in the future. However, to date, CMS has not done so.

Treatment of Medicaid Sales

Another factor contributing to inconsistencies in manufacturers’ AMP calculations is the
different interpretation of what sales should be included/excluded in the calculations. For
example, our recent reviews found that some manufacturers excluded from the calculations a
portion of sales to pharmacies that dispense prescription drugs to Medicaid beneficiaries. Two
manufacturers subtracted Medicaid sales from their AMP calculations. Removing Medicaid
sales from gross sales generally lowered AMP for these manufacturers.

Medicaid does not directly purchase drugs from manufacturers or wholesalers but reimburses
pharmacies after the drugs have been dispensed to Medicaid beneficiaries. Because a pharmacy
that dispenses drugs to Medicaid beneficiaries likely dispenses drugs to non-Medicaid patients
from the same containers of the product, it would be nearly impossible for a manufacturer to
specifically identify a sale that would be considered a Medicaid sale. However, two
manufacturers estimated Medicaid sales amounts to subtract from the AMP calculations by
multiplying the number of units that States reported when billing the manufacturer for rebates by
the price the wholesaler paid for the drug.

The two manufacturers justified removing Medicaid sales for different reasons. One
manufacturer indicated that because the rebate agreement did not allow a reduction of gross sales
by the value of Medicaid rebates paid in calculating AMP, the sales associated with the rebates
should also be excluded. The other manufacturer likened Medicaid sales to State Pharmaceutical
Assistance Programs, which provide drug coverage to certain qualified individuals. CMS’s
release 29 provides that sales under these programs should not be considered in AMP, so the
manufacturer concluded that Medicaid sales should also not be considered.

Like Medicaid, State Pharmaceutical Assistance Programs do not purchase drugs from
manufacturers or wholesalers but reimburse pharmacies for dispensing the drugs and may
receive rebates from manufacturers. However, release 29 did not address the question of
whether only the rebates paid to the programs should be excluded from AMP calculations
(similar to the statutory requirement to exclude Medicaid rebates) or whether the underlying
sales associated with the rebates should also be excluded.




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We disagree with the reasoning of both manufacturers. The exclusion of Medicaid sales is not
addressed in section 1927 of the Act, the rebate agreement, or any of the releases. In addition,
retail pharmacies that very often dispense drugs to the Medicaid population would seem to fall
squarely within the plain language of the “retail pharmacy class of trade” provision of the AMP
definition.

Using Average Manufacturer Price in Reimbursement Calculations

Concerns related to AMP calculations take on additional significance given that the DRA has
expanded the use of AMP. Prior to the DRA, AMP was primarily used as the fundamental
component in determining the amount of Medicaid drug rebates. However, the DRA provides
for the use of AMP as a basis for Medicaid reimbursement for the first time. Issues arising from
the use of AMP in connection with the 340B drug-pricing program provide useful lessons as
CMS (and potentially the States) prepares to use AMP as a basis for Medicaid reimbursement.

The 340B program, established by the Veteran’s Health Care Act of 1992, is a drug discount
program for certain qualified covered entities (including Public Health Service and other safety-
net providers) that serve vulnerable patient populations. Under the 340B program,
manufacturers agree to charge participating covered entities prices that are at or below a
specified maximum price (known as the ceiling price) for purchases of outpatient drugs (42
U.S.C. § 256b(a)(1)). The ceiling prices are based, in part, on the reported AMP and unit rebate
amounts for covered drugs (42 U.S.C. § 256b(a)).

In our review of the 340B program, we found two primary issues that have implications for the
use of AMP as the basis of Medicaid reimbursement: the timely submission of AMP data by
manufacturers and the accuracy of reported AMP data.

Our review found that manufacturers did not always report AMP in a timely manner or, in some
cases, did not report AMP at all.3 For example, the 340B ceiling price file for the first quarter of
2005 was missing 28 percent of the prices necessary to calculate 340B ceiling prices. For
70 percent of these missing prices, the file did not contain the AMP.

Manufacturers are required to report their drugs’ AMPs and, where applicable, the best price
within 30 days after a quarter’s end so that CMS can calculate the drug’s Medicaid unit rebate
amount (section 1927(b) of the Act). CMS staff reported that if the data were late, they typically
contacted the manufacturers that submitted incomplete data and requested prompt submission.
According to CMS, most manufacturers were responsive to these contacts and typically provided
the missing data with their next quarter’s submission.

While timely submission of AMP data is important to the Medicaid rebate program, it will
become even more critical when Medicaid uses AMP data as a basis for reimbursement. Late
submissions of AMP data may delay, rather than prevent, State Medicaid agencies’ rebate
collections. However, late submissions may prevent CMS from calculating accurate Federal
upper limit prices and hinder States’ ability to accurately reimburse pharmacies.
3
 “Deficiencies in the Oversight of the 340B Drug Pricing Program” (OEI-05-02-00072, October 2005).




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Our reviews have also found issues related to the accuracy of reported AMP data. CMS’s edit of
a manufacturer’s AMP submission is designed to reject an AMP that is 50 percent higher or
lower than the manufacturer’s submission for the previous quarter. When the edit detects
aberrant AMP values, CMS sends a report to the manufacturer requesting corrected information.
While inaccuracies may ultimately be corrected, inaccurate AMP submissions also affect the
timeliness of CMS’s receipt of the correct AMPs and could affect reimbursement made before
the data are corrected.

In our review of States’ accountability and control over Medicaid rebate collections, we noted
problems with unit rebate amounts of zero that resulted from inaccurate AMPs and the untimely
reporting of AMPs.4 This created accountability problems in some States’ administration of their
rebate programs and could also create problems for reimbursement based on AMP.

SUMMARY OF INDUSTRY GROUP PERSPECTIVES

We met with eight groups that represented a cross-section of interested stakeholders, including
manufacturers, pharmacies, distributors, and States, and invited the groups to provide written
comments for our consideration. Six of the eight groups provided written comments. We have
summarized some of their comments and suggestions below and have included their complete
written comments in Appendixes A through F. We believe that the industry comments provide
CMS with valuable information to use in clarifying requirements related to calculating AMP,
using AMP in reimbursement calculations, and implementing provisions of the DRA.

Calculating Average Manufacturer Price

Definition of Retail Class of Trade

Consistent with our own findings, industry groups emphasized the need for clarification of
entities included in the retail class of trade for AMP calculations. The manufacturer groups
commented that CMS had not fully addressed which classes of trade are to be considered “retail”
for purposes of calculating AMP. Release 29 clarified the retail status of some classes of trade
but not all. The manufacturer groups pointed out the lack of guidance for classes of trade such as
physicians, clinics, and patients (i.e., coupons or other patient discount programs).

While they agreed on the need for clarification, respondents presented different suggestions for
addressing this issue. One manufacturer group suggested that the retail class of trade be defined
to include only entities that dispense drugs to the general public on a walk-in basis (e.g., retail,
independent, and chain pharmacies) and mail-order pharmacies that dispense drugs to patients
who do not receive other specialized or home care services from the entity. Another
manufacturer group did not recommend a particular definition but encouraged a definition that
stipulates the criteria or rationale used to determine whether classes of trade are retail or
nonretail.

The pharmacy groups advocated that the retail class of trade be limited to traditional retail outlets
such as chain and independent pharmacies. These groups also believed that manufacturer sales
4
    “Multistate Review of Medicaid Drug Rebate Programs” (A-06-03-00048, July 6, 2005).


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to mail-order and nursing home pharmacies should not be considered retail for the purposes of
calculating AMPs.

The decision to include or exclude certain entities has important implications for AMP. The
entities in question, i.e., physicians, clinics, and mail-order and nursing home pharmacies, may
not all purchase drugs at the same price, so including or excluding sales to these entities may
have the effect of decreasing or increasing AMP.

Treatment of Pharmacy Benefit Manager Rebates

Also in keeping with our findings, respondents raised issues surrounding the treatment of PBM
rebates. One manufacturer group commented that CMS’s limited PBM guidance had caused
confusion. This group did not want any requirement that obligates manufacturers to gather
information from “downstream” entities (e.g., PBM customers). The group indicated that
contracts between PBMs and their customers do not have uniform provisions on the sharing of
manufacturer rebates, and the group was not sure whether manufacturers could contractually
require the information. Additionally, the group noted that it would be difficult to incorporate
such information into AMP calculations.

The pharmacy groups and the distributor group all favored excluding PBM rebates from the
AMP calculation (i.e., not subtracting rebate payments from the sales dollars) because the rebates
are not passed on to the retail pharmacies.

Treatment of Administrative and Service Fees

Industry groups also sought clarification of the treatment of administrative and service fees, and
respondents raised some specific points for CMS to consider in determining how to treat these
fees. One manufacturer group noted that release 14 was the only guidance addressing fees and
that it did not provide needed specificity. Release 14 states that administrative fees should be
included in AMP if they are paid to an entity whose sales are included in the AMP calculation
and if the fees ultimately affect the price realized by the manufacturer.

Another manufacturer group suggested that if CMS were to apply the average sales price criteria
to service and administrative fees, it should clarify whether the definition of bona fide service is
satisfied in relation to traditional wholesaler functions (e.g., pick, pack, and ship services).5 In
addition, one manufacturer group did not want the decision to include or exclude fees to require
a manufacturer to obtain information regarding transactions between downstream entities.

5
 The Medicare Prescription Drug, Improvement, and Modernization Act of 2003 established the average sales price
as the basis for determining reimbursement amounts for most Medicare Part B drugs. CMS guidance (question and
answer 3318 on the CMS Web site at http://www.cms.hhs.gov/McrPartBDrugAvgSalesPrice/) indicates that
administrative fees are included in the average sales price if they are paid to an entity whose sales are included in the
average sales price calculation and if they ultimately affect the price realized by the manufacturer. Additionally,
question and answer 4136 indicates that “bona fide service fees that are paid by a manufacturer to an entity, that
represent fair market value for a bona fide service, and that are not passed on” to the entity’s clients or customers are
not included in average sales price calculations because the fees would not ultimately affect the price realized by the
manufacturer. Ongoing OIG audits have shown that manufacturers treat average sales price-related administrative
and service fees inconsistently.


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The pharmacy groups and the distributor group, however, did not believe that these fees should
be used to reduce sales values included in AMP calculations.

Including these fees would generally result in lower AMPs and, therefore, lower rebates and
reimbursement (for those drugs with reimbursement based on AMP).

Lagged Price Concessions and Returned Goods

The industry groups indicated that the timing of price concessions and returned goods could
create inconsistent AMPs from one period to the next, thereby creating problems with using
AMP as a basis for reimbursement.

One manufacturer group stated that a methodology should be prescribed to account for late-
arriving discount and rebate data. Another manufacturer group did not specifically mention
lagged price concessions but commented that AMP should be calculated in such a way that
would avoid the need for retroactive adjustments. The group noted that returns should be
addressed. Yet another manufacturer group recommended that CMS encourage “smoothing” to
accommodate transaction timing.

One pharmacy group and the distributor group recommended that lagged rebates and discounts
be smoothed over a rolling 12-month period, similar to the manner in which average sales price
is calculated. They also recommended that returned goods not be considered in AMP
calculations.

Using Average Manufacturer Price in Reimbursement Calculations

One manufacturer group stated that AMP should not be used to set reimbursement rates until a
standardized methodology for calculating AMP has been established. The group noted that the
use of AMP in setting the Federal upper limits is scheduled to start January 1, 2007, but CMS is
not required to issue its regulation until July 1, 2007. Another manufacturer group commented
that the regulations should ensure that AMPs used in reimbursement are calculated in a way that
avoids the need for restatements and unnecessary quarter-to-quarter volatility. The group also
recommended that OIG caution States about potential volatility in AMP that may occur as a
result of this report and CMS’s expected regulation. A third manufacturer group commented that
large-volume purchasers such as large national chain drug stores could affect AMP and result in
inadequate reimbursement for independent pharmacies.

The pharmacy groups expressed concern about using AMP, which was created for rebate
purposes, as a benchmark for reimbursement.




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Deficit Reduction Act Implementation Issues

Frequency of Average Manufacturer Price Reporting

The manufacturer groups noted that the DRA required monthly AMP reporting but did not
change the quarterly rebate-reporting period in the Act. Because of this discrepancy, the groups
indicated that it was unclear whether manufacturers would be required to calculate and report:

   •    a monthly AMP using 1 month’s data;

   •    a monthly AMP using the most recent 3 months’ data (e.g., a rolling average
        methodology);

   •    a monthly AMP using a methodology different from that used for rebate purposes;

   •    a quarterly AMP separate from the monthly AMPs; or

   •    a quarterly AMP that is an average of the monthly AMPs.

Average Manufacturer Price Restatements

One manufacturer group wanted to know whether AMP calculations would be considered final
when submitted or whether manufacturers would be able, or even required, to restate their AMP
calculations when they recognize that a prior AMP calculation was incorrect. Another
manufacturer group asked whether AMP resubmissions would be permitted. A third
manufacturer group believed that manufacturers should be able to restate quarterly AMPs, but
not the monthly AMP.

Baseline Average Manufacturer Price

Baseline AMP represents the AMP calculated for the first full quarter a drug is on the open
market. It is used to determine whether an additional rebate is owed to the Medicaid program.
Essentially, if an AMP rises in value faster than the baseline AMP (after adjusting for inflation)
the manufacturer must pay an additional rebate. Pursuant to the DRA, prompt pay discounts
should no longer be considered in calculating the current quarter’s AMP. Previously, section
1927(k)(1) of the Act required that prompt pay discounts be used to reduce the sales values
included in the baseline AMPs. Excluding these discounts could potentially result in an increase
in AMPs that exceeds the inflation adjustment, thereby triggering the additional rebate. Two
manufacturer groups expressed concern that manufacturers could be penalized if baseline AMPs
were not adjusted to conform to the new AMP definition. The groups indicated that
manufacturers would pay an unfair amount of additional rebates related to the methodology
change unless the baseline AMP is also adjusted.

One manufacturer group recommended that manufacturers be allowed, but not required, to adjust
baseline AMPs. The group was concerned that a requirement to adjust baseline AMPs would be
impractical for some manufacturers due to data availability and operational burden issues.


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Another manufacturer group recommended that CMS work with manufacturers to develop
reasonable methodologies to adjust baseline AMPs.

As a related issue, two manufacturer groups commented that any changes in AMP methodology
should be made only prospectively and not retrospectively.

RECOMMENDATIONS

We recommend that the Secretary direct CMS, in promulgating the AMP regulation, to:

   •    clarify requirements in regard to the definition of retail class of trade and the treatment of
        PBM rebates and Medicaid sales and

   •    consider addressing issues raised by industry groups, such as:

           o   administrative and service fees,
           o   lagged price concessions and returned goods,
           o   the frequency of AMP reporting,
           o   AMP restatements, and
           o   baseline AMP.

We also recommend that the Secretary direct CMS to:

   •    issue guidance in the near future that specifically addresses the implementation of the
        AMP-related reimbursement provisions of the DRA and

   •    encourage States to analyze the relationship between AMP and pharmacy acquisition cost
        to ensure that the Medicaid program appropriately reimburses pharmacies for estimated
        acquisition costs.

CENTERS FOR MEDICARE & MEDICAID SERVICES COMMENTS

In commenting on a draft of this report, CMS stated that it would address each of the
recommended areas, as well as the areas raised by industry groups, in its proposed regulation.
CMS also stated that it would evaluate the need for additional guidance.

CMS’s comments are included as Appendix G. Attached to those comments were technical
comments, which we addressed as appropriate.




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April 20, 2006




Office of the Inspector General
Department of Health and Human Services
330 Independence Avenue, SW
Washington, DC

Re: HHS OIG study of Average Manufacturer Price

As discussed during our March 16 meeting, GPhA has concerns over the implementation
of the Medicaid reform legislation. These concerns are in the areas of reimbursement
methodology and program administration. We recognize that there is a need for the
Medicaid Program to realize savings through the continued and expanded use of generic
prescription medicines. To that end, we need to work together to ensure that all entities in
the supply chain retain incentives for the continued manufacturing and dispensing of
generic medicines.

Methodology for Calculating AMP:

In order to understand GPhA’s concerns regarding the importance of a clearly defined
methodology for calculating Average Manufacturer Price (AMP), it is important to
understand the typical chain of distribution for the products of generic pharmaceutical
manufacturers. Generic pharmaceutical manufacturers currently distribute their products
directly to warehousing chain pharmacies, mail order pharmacies, various managed care
entities, wholesalers and distributors (who themselves resell to non-warehousing chain
pharmacies, independent pharmacies, hospitals, clinics, etc.). For reference, warehousing
chain pharmacies include, but are not limited to, Brooks / Eckerd, CVS, Rite Aid,
Walgreens, and Wal*Mart; mail order pharmacies include Caremark, Medco, and
Express Scripts; and wholesalers include AmerisourceBergen, Cardinal, and McKesson.
(Note: Some large chains like Walgreens and CVS also have mail order divisions.)

The legislation contemplates not only the publication of manufacturer AMP data, but also
changes to the methodology for calculating. As we understand it, the AMP is intended to
account for all recorded sales and discounts within the reported period; however, as you
are undoubtedly aware, fluctuating order patterns and erratic timing of transactions result
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in unpredictable fluctuations in AMP from month to month, or quarter to quarter based
on customer mix, discount payments, returns and other normal business transactions.
Moreover, given the ambiguity in the current regulatory guidance for calculating AMP,
different manufacturers may very well be employing different assumptions either on their
own or in conjunction with regulatory counsel to calculate their respective AMPs, which
results in a variability across AMPs that prevents a true apples-to-apples comparison of
pricing data across manufacturers.

It is also important to note that a manufacturer’s AMP is actually a weighted average
price, heavily influenced by the purchasing power of large national chain drug stores, and
mass merchants. The prices paid by these volume purchasers generally are not available
to others in the pharmacy community, including the independent pharmacies that portions
of the Medicaid population rely upon. 1,2 In areas where this is true, this inequity in
pricing creates the potential for access to be a significant issue in the implementation of
the proposed Medicaid reform. Whether sales to such volume purchasers should be
included in AMP is just one of the questions raised by this legislation.

Another question concerns the legislation’s current approach of using the lowest AMP
reported for multi-source products upon which to base reimbursement. This model does
not provide a means to measure:

1. De minimis sales volume associated with a given manufacturer’s AMP,
2. A manufacturer’s decision to sell a product to a single entity, regardless of volume, at
   a discounted price which would not represent a widely available price,
3. Discounts available to large volume purchasers based on the purchase of bulk
   package sizes; thereby creating a potential for reimbursement to be based on pricing
   that is not widely available, and in fact a statistical outlier,
4. The widespread availability to all pharmacy purchasers of certain manufacturers
   products,
5. The continued availability of a product for which an AMP is generated, and
6. Substantial wholesaler/distributor markup fees that apply to a majority of 30,000+
   independent retailers/small chains (this subset represents almost 60% of U.S. retail
   pharmacy) that primarily purchase through wholesalers.

Whatever the answers to these questions, we ask only that your recommendations include
a clear and concise methodology for calculating AMP that leaves no room for doubt as to
the methodology that should be employed by each manufacturer in calculating AMP.

Program Administration:

In addition to the issues identified around the AMP calculation methodology, there are
numerous procedural issues raised and many questions still surrounding the

1
    2005 NCPA- Pfizer Digest
2
    2005 NACDS Chain Pharmacy Industry Profile
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administration of the program. As an initial matter, despite the inherent ambiguity in the
current AMP calculation methodology, the legislation appears to require CMS to make
public the most recent manufacturer AMP data on or about July 1, 2006. Not only does
this raise the variability issues, set forth above, but publishing this data not just to the
states, but to the public at large, raises serious concerns about the evisceration of the
private sector reimbursement model by displaying data known to be flawed. It is one
thing to demand transparency under the guise of government accountability and provide
this information to the states; it is quite another to eliminate certain pro-competitive
advantages that one manufacturer may have over another in the public sector by
publishing a baseline price as to each product of every manufacturer. CMS has the
responsibility to publish a price that accurately reflects the market, nothing more.

Moreover, as outlined above, fluctuations and timing within the generic market make
AMP reporting erratic and unpredictable. This currently occurs with the existing
quarterly reporting requirements, and would only be exacerbated with monthly reporting.
Products with low unit volume will have a disproportionate influence on the lowest AMP
than potential higher AMP products with higher unit volume. This again reflects
concerns over a system not designed around a widely available price, as the current FUL.
AMPs could result from pricing available only to a certain minority of providers, yet
become the reimbursement standard for the total pharmacy community. “Smoothing”
will also have a huge impact on AMPs due to the large dollar value of chargebacks
processed for wholesaler sales for generic products. CMS has been silent on smoothing
in the quarterly AMPs, although CMS does require smoothing for ASP pricing for
Medicare Part B. Generic manufacturers should be encouraged to smooth data in the
AMP calculation for reimbursement to accommodate transaction timing.

GPhA and its member companies appreciate the opportunity to share our concerns and
thoughts with the OIG and stand ready to provide additional assistance and input as this
process moves forward.

                                      Sincerely,




                                      Kathleen D. Jaeger
                                      President and CEO


Attachment: Questions to Consider
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Additional questions for consideration by OIG

Once more clarity exists around the AMP calculation methodology, we would like to
reserve the opportunity to discuss issues identified, which may include, but are not
limited to the following:

1) Will manufacturers be required to submit a monthly AMP for FUL and quarterly AMP
for rebates?

2) Will the government provide class of trades for all reimbursable entities in the US, so
that these codes are not subjectively assigned by manufacturers? This will ensure
consistency across manufacturers when calculating AMPs.

3) Will AMP for FUL be calculated at the 9 or 11 digit NDC? The price would be more
accurate if calculated at the 9-digit level.

4) Explain the exclusion of wholesaler cash discounts? Does this apply to all customers?

5) Explain the separate reporting requirement for cash discounts

6) How does a manufacturer report a negative AMP calculation for reimbursement?
Comment: For the quarterly AMP for Medicaid rebates, CMS requires that the last
quarterly positive AMP be reported.

7) Please explain how AMP and BP are to be calculated for brands/authorized generics?
Will the AG give data to the brand for the brand’s submission? If so, at what level of
detail? Or will CMS calculate based on the Brand and AG’s submission?

8) Similar to current AMPs/BPs, will the supplied monthly/quarterly AMP information
for each manufacturer be kept confidential, not subject to the FOIA? It could have a
negative effect on manufacturers if individual AMPs were posted.


9) Would a manufacturer be permitted to resubmit a monthly AMP for a prior
submission?

10) Will there be an incentive to purchase generics via dispensing fees? Will the fees be
a flat dollar amount or based on a percentage of AMP?
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